                                                          MOSER LAW FIRM, PC
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                                                   June 27, 2023

VIA ECF

Clerk of the Court
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:    Zaldivar v JANL Inc, Case No. 23-cv-01434(JMA)(LGD)

Dear Clerk of the Court:

       Please re-issue the annexed updated summonses for Luciano Olivero, Severina Olivero
and Sergio Olivero.

                                                   Respectfully submitted,

                                                   Steven J. Moser
                                                   Steven J. Moser




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